Case 3:19-cv-O00006-HTW-LRA Document 40 Filed 09/18/20 Page 1 of 1

 

 
    

IN THE UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF MISSISSIPPI SEP 18 2020

ARTHUR JOHNSTON

 

 

 

  

 

DEPUTY,

OSCAR STILLEY PLAINTIFF
V. 3:19-CV-6 HTW-LRA

WARDEN CHRISTOPHER RIVERS
( STEVEN REISER NOW SUBSTITUTED) ET AL DEFENDANTS

PLAINTIFF OSCAR STILLEY’S NOTICE OF CHANGE OF ADDRESS
Comes now Plaintiff Oscar Stilley (Plaintiff) and for his notice states:
1. Plaintiff hereby gives notice that he now resides at the address below.
2. Plaintiff intends to request electronic notice asap, but includes this to inform the Court

and parties of his legal address.

\

By: ae, } 9-17-20

Oscar Stilley V Date
101 Martin Street

Fort Smith, AR 72908
oscarstilley@pimail.com
479.274.9291 (Martha Durossette, message line)

     

CERTIFICATE OF SERVICE

Plaintiff by his signature above pursuant to 28 USC 1746 certifies that he caused the Defendants
to be served by placing a copy of this pleading in USPS OVERNIGHT, with sufficient postage
prepaid, addressed to the clerk of the court for filing and service via CM/ECF..
